Case 1:25-cv-00173-JCN Document 2
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 03/24)

purpose of initiating the civil docket sheet.

Filed 04/16/25

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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I. (a) PLAINTIFFS

United States of America

(b) County of Residence of First Listed Plaintiff

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number)

Matthew J. Donnelly, U.S. Dep't of Justice; 950 Penn.
Ave., NW; Washington, DC 20530; (202) 616-2788

NOTE:
THE TRACT

Attorneys (If Known)

County of Residence of First Listed Defendant

Maine Department of Education

Kennebec

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED,

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

Il. BASIS OF JURISDICTION (Place an “X” in One Box Only)

[x] 1 U.S. Government
Plaintiff

C 2 U.S. Government
Defendant

CO 3 Federal Question

(U.S. Government Not a Party)

C 4 Diversity

(Indicate Citizenship of Parties in [tem II)

(For Diversity Cases Only)

IIL. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Box for Plaintiff

and One Box for Defendant)

PTF DEF PTF DEF
Citizen of This State [11 [4] 1 Incorporated or Principal Place [C]4 (4
of Business In This State
Citizen of Another State C 2 CL 2 Incorporated and Principal Place O 5 5
of Business In Another State
Citizen or Subject ofa [13 [] 3. Foreign Nation Cle (6

Foreign Country

IV. NATURE OF SUIT (piace an “x” in One Box Only)

Click here for: Natu

BANKRUPTCY.

0 WEScripi
OTHER STATUTES

| CONTRACT TORTS FORFEITURE/PENALTY.
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158
120 Marine 310 Airplane CL 365 Personal Injury - of Property 21 USC 881 423 Withdrawal
130 Miller Act 315 Airplane Product Product Liability | }690 Other 28 USC 157
140 Negotiable Instrument Liability [_] 367 Health Care/ INTELLECTUAL
150 Recovery of Overpayment 320 Assault, Libel & Phannaceutical PROPERTY RIGHTS
& Enforcement of Judgment Slander Personal Injury 820 Copyrights
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent
H 152 Recovery of Defaulted Liability Cc 368 Asbestos Personal 835 Patent - Abbreviated
Student Loans 340 Marine Injury Product New Drug Application
(Excludes Veterans) 345 Marine Product Liability 840 Trad k
CT 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets
of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016
[ "] 160 Stockholders’ Suits 355 Motor Vehicle — 371 Truth in Lending Act
| 190 Other Contract Product Liability [] 380 Other Personal ]720 Labor/Management
195 Contract Product Liability 360 Other Personal Property Damage Relations 861 HIA (1395ff)
196 Franchise Injury CL 385 Property Damage 740 Railway Labor Act 862 Black Lung (923)

| 362 Personal Injury -
Medical Malpractice

REAL PROPERTY

CIVIL RIGHTS

Product Liability
PRISONER PETITIONS

He Family and Medical
Leave Act
790 Other Labor Litigation

2.10 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
| 290 All Other Real Property

440 Other Civil Rights

441 Voting

442 Employment

443 Housing/
Accommodations

445 Amer. w/Disabilities -
Employment

| 446 Amer. w/Disabilities -

Other

|X] 448 Education

Habeas Corpus:
463 Alien Detainee
510 Motions to Vacate
Sentence
530 General
535 Death Penalty
Other:
540 Mandamus & Other
550 Civil Rights
555 Prison Condition
560 Civil Detainee -
Conditions of

| _|791 Employee Retirement
Income Security Act

|____ IMMIGRATION ___|

863 DIWC/DIWW (405(g))
864 SSID Title XVI
865 RSI (405(g))

375 False Claims Act

376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

| 480 Consumer Credit

(15 USC 1681 or 1692)

| 485 Telephone Consumer

Protection Act

490 Cable/Sat TV

A

850 Securities/Commodities/
Exchange
890 Other Statutory Actions

itis.
870 Taxes (U.S. Plaintiff

or Defendant)
[] 871 IRS—Third Party
26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

Confineinent

|_| 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
- 899 Adininistrative Procedure
Act/Review or Appeal of
Agency Decision
=} 950 Constitutionality of
State Statutes

V. ORIGIN (Ptace an "X” in One Box Only)

1 Original
Proceeding

C12 Removed from
State Court

3. Remanded from
Appellate Court

4 Reinstated or 5 Transferred from
O O Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

oO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

20 U.S.C. §§ 1681 & 1682

Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity):

Brief description of cause:

20 U.S.C. § 1681 -- sex discrimination in scholastic athletics

VII REQUESTEDIN ~~ [] CHECKIF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]Y¥es []No
VII. RELATED ae.

Se

IF ANY (See insirsctionty upc \ DOCKET NUMBER

DATE of f [te 4: S \ Letras OF A PATE ECORD
a
FOR OFFICE USE ONLY ee
AMOUNT APPLYING IFP JUDGE MAG. JUDGE

RECEIPT #

